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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


Midas Green Technologies, LLC,

      Plaintiff,                            Civil Action No. 6:22-cv-00050-ADA

             - vs. -                        Jury Trial Demanded

Rhodium Enterprises, Inc.;
Rhodium Technologies LLC;
Rhodium 10mw LLC;
Rhodium 2.0 LLC;
Rhodium 30mw LLC;
Rhodium Encore LLC; and
Rhodium Renewables LLC;

      Defendants.


 ORDER DENYING DEFENDANTS’ MOTION TO STRIKE OPINIONS OF AND
           TO EXCLUDE TESTIMONY OF DR. JAMES LEE




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      Having considered the Defendants’ Motion to Strike Opinions of and Testimony of

Dr. James Lee and all of the papers and evidence in support of and in opposition to the

Motion, the Court finds that the motion is DENIED.




IT IS SO ORDERED this day of



                                                        Alan D. Albright
                                                        UNITED STATES DISTRICT JUDGE




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